            Case 2:08-cr-00392-GEB Document 423 Filed 08/25/11 Page 1 of 3


     William E. Bonham, SB# 55478
 1   Attorney at Law
     Hotel de France Bldg., Old Sacramento
 2   916 Second Street, 2nd Floor, Ste. A
     Sacramento, California 95814
 3
     Telephone: (916) 557-1113
 4   Facsimile: (916) 557-1118
     Email: billbonham@mylaw.comcastbiz.net
 5
     Attorney for: Thomas GARCIA
 6
 7
 8
 9
               IN THE UNITED STATES DISTRICT COURT FOR THE
10
11                      EASTERN DISTRICT OF CALIFORNIA

12
13
14   UNITED STATES OF AMERICA,              )       CR. No. CR-S 08-00392 GEB
                                            )
15
                        Plaintiff,          )       APPLICATION FOR A COURT
16                                          )       ORDER EXONERATE AND
17                v.                        )       RECONVEY PROPERTY
                                            )       BOND
18   Thomas GARCIA,                         )
19                                          )
                        Defendant.          )       Hon. Judge Garland E. Burrell
20
                                            )
21                                          )
22
           The defendant, Thomas Garcia, by and through his undersigned counsel,
23
24   William E. Bonham, requests that the Court order the $150,000 property bond
25
     securing his release be exonerated and the title to the property located at 7447
26
27   Sylvia Way, Sacramento, CA 95822, be reconveyed back to the property’s owner,
28
     Matthew Maestas.

                                                1
             Case 2:08-cr-00392-GEB Document 423 Filed 08/25/11 Page 2 of 3



 1         On August 28, 2008 Mr. Garcia was indicted along with 15 co-defendants
 2   for conspiracy to distribute and possess with intent to distribute over 500 grams of
 3
     methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1).
 4
 5         On March 25, 2011 the government filed a 1 Count Superseding
 6
     Information charging Mr. Garcia with illegal use of a communication facility in
 7
 8   violation 21 U.S.C. § 843(b). On the same day Mr. Garcia plead guilty to Count 1
 9
     of the Superseding Information.
10
11         At Judgment and Sentencing on July 8, 2011 Mr. Garcia was sentenced,
12
     pursuant to a plea agreement to time served.
13
14         As Mr. Garcia’s sentencing represents the conclusion of his criminal

15   proceedings in the above captioned matter, it is requested at this time that the
16
     Court order the $150,000 property bond securing his release exonerated and the
17
18   title of the property reconveyed to the owner, Matthew Maestas.
19
     Dated: July 8, 2011
20
21
                                                    By:/s/ WILLIAM E. BONHAM for
22
                                                    WILLIAM E. BONHAM
23                                                  Counsel for Defendant
24                                                  THOMAS GARCIA
25
26
27
28


                                               2
            Case 2:08-cr-00392-GEB Document 423 Filed 08/25/11 Page 3 of 3



 1                                         ORDER
 2         IT IS SO ORDERED THAT THE $150,000 property bond securing Thomas
 3
     Garcia’s release in the above captioned case is exonerated and the title to the
 4
 5   property located at 7447 Sylvia Way, Sacramento, CA 95822, is to be reconveyed
 6
     back to the property’s owner, Matthew Maestas.
 7
 8   Dated: August 24, 2011
 9
10
11
                                       GARLAND E. BURRELL, JR.
12                                     United States District Judge

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               3
